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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                           MIAMI DIVISION

                                 CASE NO.: 18-20957-CIV-CMA/Goodman

  RUBY SOSA,

         Plaintiff,
  v.

  CARNIVAL CORPORATION,

        Defendant.
  ______________________________/

               PLAINTIFF’S MOTION TO STRIKE DEFENDANT’S EXPERTS

         Plaintiff, RUBY SOSA, by and through her undersigned counsel and pursuant to Daubert

  v. Merrill Dow Pharmaceuticals, Inc., 509 U.S. 579, 113 S. Ct. 2786 (1993), Federal Rule of Civil

  Procedure 26, the Federal Rules of Evidence, Southern District Local Rule 7.1, and this Court’s

  Order Setting Trial and Pre-Trial Schedule [D.E. 18], hereby files her Motion to Strike the Experts

  of Defendant, CARNIVAL CORPORATION (“Carnival”), and in support thereof states as

  follows:

                                               I.        BACKGROUND

         This maritime negligence action arises from severe injuries Plaintiff suffered as a result of

  a slip and fall onboard Defendant’s vessel, the Carnival Freedom. [See Compl. D.E. 1]. Defendant

  has disclosed three expert opinions in this matter: Mr. Bryan Emond, a Professional Engineer and

  liability expert; Dr. David Keyes, M.D., an orthopedic surgeon; and Dr. Allen Singer, M.D., a

  mental health rebuttal expert. A copy of Defendant’s Expert Witness Disclosures is attached

  hereto as Exhibit “A,” and a copy of Defendant’s Rebuttal Expert Witness Disclosures is attached

  hereto as Exhibit “B”. For the following reasons, certain portions of these expert reports should


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  be excluded pursuant to the standards found in Daubert, 509 U.S. 579, Rule 26, and the Federal

  Rules of Evidence.

                                             II.      LEGAL STANDARD

         Courts are charged with a “gatekeeping” role “to ensure that speculative, unreliable expert

  testimony does not reach the jury.” McCorvey v. Baxter Healthcare Corp., 298 F.3d 1253, 1256

  (11th Cir. 2002). A witness only qualifies as an expert if he provides specialized knowledge that

  will assist the jury and “if (1) the testimony is based upon sufficient facts or data, (2) the testimony

  is the product of reliable principles and methods, and (3) the witness has applied the principles and

  methods reliably to the facts of the case.” Id. (citing Fed.R.Evid. 702).

         In determining whether the above factors are met, a court must consider whether “(1) [T]he

  expert is qualified to testify competently regarding the matters he intends to address; (2) the

  methodology by which the expert reaches his conclusions is sufficiently reliable,” and “(3) the

  testimony assists the trier of fact, through the application of scientific, technical, or specialized

  expertise, to understand the evidence or to determine a fact in issue.” Quiet Tech. DC-8, Inc. v.

  Hurel-Dubois UK Ltd., 326 F.3d 1333, 1340-41 (11th Cir. 2003).

         Additionally, Rule 26(a)(2)(B)(i) provides that an expert report must contain “a complete

  statement of all opinions the witness will express and the basis and reasons for them.” If an expert

  disclosure is incorrect or incomplete, the expert has a duty to supplement “in a timely manner.”

  Fed. R. Civ. P. 26(e)(1)(A). Any information not disclosed under Rule 26(a) or 26(e) may not be

  used “to supply evidence … at a trial, unless the failure was substantially justified or is harmless.”

  Fed. R. Civ. P. 37(c)(1). Companhia Energetica Potiguar v. Caterpillar, Inc., 2016 WL 3102225,

  *5 (S.D. Fla. June 2, 2016).




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                                           III.      MEMORANDUM OF LAW

          Defendant’s experts, or portions of their opinions, are due to be stricken for various

  reasons. With regard to Defendant’s liability expert, Mr. Emond, his brief, vague report includes

  no methodology, and therefore violates Rule 26(a)(2)(B), and as a result his opinions are inherently

  unreliable under a Daubert analysis. Lee-Bolton v. Koppers, Inc., 319 F.R.D. 346, 378 (N.D. Fla.

  2017) (“The need for an expert to complete and explain his methodology is at the heart of

  reliability.”). Dr. Singer’s opinions are similarly unreliable, in that he provides no basis for his

  conclusions regarding Plaintiff’s mental health conditions, and some of his opinions fall outside

  the scope of rebuttal to Plaintiff’s “hybrid” mental health treating therapist, Mr. Hardy-Holley.

  Home Design Sevcs. v. Hibiscus Homes of Fla., 2005 WL 2465020 (M.D. Fla. Oct. 6, 2005)

  (striking an expert opinion as untimely and outside the scope of proper rebuttal). Dr. Keyes’ report

  also contains an insufficient factual basis for his opinions, while Dr. Keyes himself admits he does

  not possess the expertise to opine on Plaintiff’s lumbar MRIs. Exhibit “B,” Additional Medical

  Record Review dtd. 10/17/18, at 3.

          A. Mr. Bryan Emond, P.E.

          1.        “Testing Location and Results” Contains No Methodology

          Mr. Emond’s “Testing Location and Results” section of his expert report is due to be

  stricken because it is completely void of any methodology whatsoever. See Exhibit “A”. Further,

  this fact was pointed out by Plaintiff’s liability expert, Dr. Jahan Rasty, Ph.D., in the rebuttal report

  served on October 19, 2018; however, Defendant failed to take steps to supplement and/or correct

  Mr. Emond’s disclosures. A copy of Dr. Rasty’s rebuttal report is attached hereto as Exhibit “C”.

          In determining whether an expert’s methodology is reliable, a court must consider (1)

  whether the methodology is capable of being tested; (2) whether the scientific technique has been


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  subject to peer review and publication; (3) whether the method has a known rate of error; and (4)

  whether the scientific community generally accepts the method used. Quiet-Tech, 326 F.3d at

  1341.

          Methodology that lacks the “intellectual rigor” required by Daubert, and instead uses

  unsupported “leaps of faith” condemned by Daubert, should be excluded. Rink v. Cheminova, Inc.,

  400 F.3d 1286, 1292 (11th Cir. 2005). “And, on a more fundamental level, the focus of a Daubert

  inquiry ‘must be solely on principles and methodology, not on the conclusions that they generate.’”

  Whelan v. Royal Caribbean Cruises Ltd., 976 F. Supp. 2d 1328, 1332 (S.D. Fla. 2013). McCorvey,

  298 F.3d at 1257 (“Rulings on admissibility under Daubert inherently require the trial court to

  conduct an exacting analysis of the proferred expert’s methodology”).

          For these reasons, it is imperative that an expert’s report comply with the mandatory

  disclosure provisions of Rule 26(a)(2)(B), and contain “a complete statement of all opinions the

  witness will express and the basis and reasons for them,” including “the facts or data considered

  by the witness” when forming his opinions. Fed. R. Civ. P. 26(a)(2)(B)(i)-(ii). This forms the

  basis of reliability of an expert opinion. McClain v. Metabolife Intern., Inc., 401 F.3d 1233, 1245

  (11th Cir. 2005) (“The Daubert requirement that the expert testify to scientific knowledge—

  conclusions supported by good grounds for each step in the analysis—means that any step that

  renders the analysis unreliable under the Daubert factors renders the expert’s testimony

  inadmissible.” (internal quotations omitted) (emphasis in original)).

          Despite Mr. Emond’s report citing to two of the American National Standards Institute

  (“ANSI”) standards for testing the DCOF of walking surfaces, B101.3 and A326.3, his report

  contains absolutely no methodology or explanation as to how he performed the wet dynamic

  coefficient of friction (“DCOF”) tests onboard the Carnival Freedom, and therefore Plaintiff is left


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  in the dark as to whether the tests were actually performed in accordance with these standards. See

  Exhibit “A”. Mr. Emond fails to specify the steps taken and procedures followed during his DCOF

  testing. Id. Mr. Emond further fails to include important requirements for testing that would be

  applicable under both standards, causing his report to suffer from impermissible “black box”

  syndrome: “where ‘data is fed at one end and … an answer emerges at the other, and the jury

  cannot see how the pieces fit together or how the data drives the conclusion.’” Lee-Bolton, 319

  F.R.D. at 377.

         In his rebuttal report, Plaintiff’s expert, Dr. Rasty, points out the various deficiencies in

  Mr. Emond’s report that undermine his final opinions:

        “[Mr. Emond] does not disclose the specific concentration of surfactants in the
         liquid used to wet the test tile surface,” (or if any surfactants were applied at all),

        “[Mr. Emond] does not disclose the number of individual friction tests performed,”

        “[Mr. Emond] does not disclose the actual values obtained for each test run,”

        “[Mr. Emond] does not disclose whether he performed friction tests in four
         orthogonal directions per requirement of the standards,” and

        “[Mr. Emond] does not disclose how the tiles were prepared prior to performing
         the friction tests.”

  Exhibit “C”. Without outlining these significant factors in his methodology, it is impossible to

  test or verify Mr. Emond’s results, an important consideration under Daubert. Martinez v. Rabbit

  Tanaka Corp., 2006 WL 5100536, *13 (S.D. Fla. Jan. 6, 2006) (noting that plaintiff’s expert’s

  report “relies on no discernable methodology at all” and that none of his “conclusions is ‘testable’

  or independently verifiable as envisioned by a Daubert inquiry”). Plaintiff is also prejudiced

  because she cannot verify or adequately rebut Mr. Emond’s opinions. Brown v. NCL (Bahamas)

  Ltd., 190 F. Supp. 3d 1136, 1143 (S.D. Fla. 2016) (explaining that the failure to disclose was not



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  substantially justified or harmless, because it deprived the other party of the ability to prepare a

  rebuttal). See also Exhibit “C”.

         The Northern District of Florida struck a similarly unsupported expert opinion of a Dr.

  Wade in Lee-Bolton v. Koppers, Inc., 319 F.R.D. 346 (N.D. Fla. 2017). Lee-Bolton was a class-

  action case brought by property owners against a lumber processing facility that allegedly

  contaminated their land. Id. at 351. The Plaintiffs disclosed Dr. Wade, a chemical fingerprinting

  expert, to show that Koppers’ Site was the source of the contamination. Id. at 364. Similar to Mr.

  Emond’s report in this case, “Dr. Wade’s brief report provided little explanation and no details of

  his analysis.” Id.

         The defense expert in Lee-Bolton, similar to Plaintiff’s expert in this case, pointed out the

  deficiencies in Dr. Wade’s report as incomplete and unreliable. Id. at 368. Specifically, the

  Principal Component Analysis (“PCA”) utilized by both experts had two forms of output, a factor

  score plot and a factor loading chart, which must be read together to determine causation. Id. The

  defense expert criticized Dr. Wade’s report as “incomplete because he failed to explain whether

  or how he had evaluated the factor loading chart, which is what gives insight into the congeners

  driving the differences or similarities,” id., and “that without interpreting both sets of information,

  it is not possible to reliably evaluate the factor score plots or determine which congeners are

  creating the similarities and the differences within the PCA analysis, which is critical for

  distinguishing among sources [of contamination],” id. at 377.

         Similarly here, Mr. Emond’s report cannot be properly evaluated or rebutted because it

  omits crucial methodology that formed the basis of his opinions. For example, whether and what

  surfactant was used to prepare the floor prior to testing would have a direct effect on the results of

  Mr. Emond’s DCOF tests; how many tests were performed and in what directions are significant


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  “facts or data” considered when formulating the values contained in Mr. Emond’s “Testing

  Location and Results” table (Exhibit “A” at 7), yet they are omitted from his report; and the

  condition of the floor during testing is also important—did Mr. Emond’s testing take place after

  the floor was just cleaned? Or after passengers had traversed the buffet line while getting food—

  similar to the conditions when Plaintiff’s expert tested the floor? All of these factors would have

  an obvious effect on the friction values of the floor, yet, Mr. Emond’s report fails to consider or

  explain them because it contains no methodology.

         Mr. Emond’s report in this case suffers from similar deficiencies as the plaintiff’s expert

  opinion in Lee-Bolton: he “failed to explain how he had evaluated the factor score plots in relation

  to the factor loading chart, if he had done so at all, and also failed to provide any detail as to the

  17 congeners and how they compared with the Koppers Site, other than to say he had calculated

  their sums,” which makes Dr. Emond’s report in this case similarly “incomplete and scientifically

  unreliable.” Id. at 378.

         In fact, Mr. Emond’s report in this case is suspiciously vague. Compare Exhibit “A” to

  Exhibit “C”. It is almost as if Defendant is inviting a Daubert hearing as an opportunity to

  supplement or to attempt to fill in the blanks of Mr. Emond’s report. But see Companhia, 2016

  WL 3102225, at *5 (“[A] report that suffers from a major omission cannot be cured by the use of

  supplementation.” (citing Goodbys Creek, LLC v. Arch. Ins. Co., 2009 WL 1139575, *2 (M.D.

  Fla. Apr. 27, 2009))).

         In Cook ex rel. Estate of Tessier v. Sheriff of Monroe County, the Eleventh Circuit affirmed

  the Southern District’s exclusion of expert testimony that failed to contain a sufficient factual

  basis—and the District court’s refusal to conduct a Daubert hearing. 402 F.3d 1092, 1113 (11th

  Cir. 2005). The Eleventh Circuit explained,


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         [W]e stress that the burden of laying the proper foundation for the admission of
         expert testimony rests with its proponent. Presenting a summary of a proferred
         expert’s testimony in the form of conclusory statements devoid of any factual
         or analytical support is simply not enough. The party offering the expert must
         present the witness’ proposed testimony in a form that persuades the trial court that
         the testimony will in fact assist the trier of fact. As we have held previously,
         carrying this burden requires more than “the ipse dixit of the expert.”

  Id. (internal citations omitted) (emphasis supplied).

         Expert reports containing “too great an analytical gap” between the data and the

  conclusions should be excluded. Lee-Bolton, 319 F.R.D. at 371. As explained by the Supreme

  Court in General Electric v. Joiner,

         Trained experts commonly extrapolate from existing data. But nothing in either
         Daubert or the Federal Rules of Evidence requires a district court to admit opinion
         evidence that is connected to existing data only by the ipse dixit of the expert. A
         court may conclude that there is simply too great an analytical gap between the data
         and the opinion proferred.

  General Electric v. Joiner, 522 U.S. 136, 146, 118 S. Ct. 512, 519 (1997). Such an analytical gap

  exists in Mr. Emond’s report in this case, and as a result, renders his methodology and opinions

  unreliable. Mr. Emond’s “Testing Location and Results,” and the opinions derived therefrom, are

  properly excluded.

         2.        “Vessel Information” and “Standards Review” Are Not Applicable Here

         Next, Plaintiff moves to strike two specific portions of Mr. Emond’s report that are

  irrelevant to his ultimate opinions and the issues surrounding the DCOF of the interior tile floor

  upon which Plaintiff fell, as later recognized by Mr. Emond in his own Report. Mr. Emond

  includes the following irrelevant information with regard to the vessel’s alleged compliance with

  The International Convention for Safety of Life at Sea (“SOLAS”) and the US Coast Guard’s Port

  State Control Inspections in the “Vessel Information” section of his Report:

         The Public records in the USCG PSIX database indicate that the ship had a valid
         SOLAS passenger ship safety certificate at the time of the accident. … The

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         Carnival Freedom is also subject to Port State Control inspections. The USCG, as
         the maritime authority for the United States, performs Port State Control
         Verifications on ships like the Carnival Freedom. During Port State Control
         inspections, the USCG verifies compliance with international requirements, such
         as SOLAS. On cruise ships, these inspections begin as the ship is designed and
         built, and continue with annual inspections. These inspections include examination
         and testing of the ship’s egress routes. PSIX records reviewed by S-E-A indicate
         that the vessel had a valid Certificate of Compliance issued by the USCG at the
         time of this incident. These records reviewed by S-E-A indicate no record of
         discrepancies related to any decks being considered slippery.

  Exhibit “A,” at 4. Yet, on the very next page, Mr. Emond recognizes that SOLAS does not apply

  to the interior tile flooring or the DCOF tests conducted in this case. Further, Mr. Emond fails to

  explain the connection between the Coast Guard’s Port State Control Inspections, other than they

  are used to confirm compliance with the inapplicable SOLAS treaty (which, as described above,

  is irrelevant). See Exhibit “A”. On page 5 of his Report, Mr. Emond provides:

         As stated above, the Carnival Freedom is subject to the international requirements
         of SOLAS. The regulations in SOLAS do not have specific, prescriptive
         requirements for walkways. The only reference to slip-resistance requirements for
         walking surfaces is in Chapter II-2, Regulation 13, Section 3.2. 4, Details of Means
         of Escape. This section requires that open (exposed to weather) stairways and
         passageways used as a means of escape have “slip-free surfaces underfoot.” This
         rule provides no criteria or test method to determine whether a surface is slip-
         resistant.

  Exhibit “A” at 5.

         Not only does Mr. Emond recognize in his own Report that SOLAS does not apply here,

  but his inclusion of this information will undoubtedly cause confusion with the jury. Referencing

  a standard that is, by its own terms, inapplicable to wet DCOF testing of interior tile floors, while

  simultaneously conveying that Defendant’s vessel complies with these inapplicable standards, will

  be confusing and misleading to the trier of fact. Further, Plaintiff’s liability expert who opined on

  the DCOF of the tile floor used (one of the same) ANSI standards as Mr. Emond did in his testing;

  to include additional, admittedly irrelevant standards when discussing the DCOF of the interior

  tile floor in this case would be improper. As such, the above opinions are properly excluded.
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           B. Dr. Allen Singer, M.D.

           1. Dr. Singer’s opinion that Plaintiff does not suffer from PTSD is unreliable

           Defense mental health rebuttal expert, Dr. Allen Singer, ultimately opines that Plaintiff

   does not suffer from Post-Traumatic Stress Disorder (“PTSD”), in contravention to Plaintiff’s

   mental health treater, Mr. Hardy-Holley. See Exhibit “B”. First, Plaintiff moves to exclude Dr.

   Singer’s opinion that “Ms. Sosa does not have PTSD.” Exhibit “B,” at 18. In support of this

   opinion, Dr. Singer states that a slip and fall, resulting in traumatic injury, can never form the basis

   of a PTSD diagnosis, and that if it did, every person who ever slipped and fell could be diagnosed

   with PTSD. Exhibit “B”. These outlandish opinions are not supported by any methodology

   outlined in Dr. Singer’s report.

           When evaluating the reliability of scientific expert opinion, the courts should consider: (1)

   whether the expert’s methods can be and have been tested; (2) whether the methods are subject to

   peer-review or publication; (3) the potential or known rate of error; and (4) whether the method is

   generally accepted in the scientific community. U.S. v. Frazier, 387 F.3d 1244, 1262 (11th Cir.

   2004) (citations omitted). If a witness relies primarily on his or her experience in lieu of a scientific

   methodology, “then the witness must explain how that experience leads to the conclusion reached,

   why that experience is a sufficient basis for the opinion, and how that experience is reliably applied

   to the facts.” Id. at 1261.

           Dr. Singer specifically states as follows: “Slipping and falling and having acute pain is not

   considered [a] medically/psychiatrically sufficient event to be considered for the diagnosis of

   PTSD.” Exhibit “B,” at 19. He goes on to state, “if Ms. Sosa[’s] injury qualified her for PTSD,

   then every person who ever fell or slipped on the ice (or virtually any orthopedic accident) could




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   be eligible for the diagnosis of PTSD.” Id. Finally, Dr. Singer concludes that “Ms. Sosa did not

   meet the “A” criteria for PTSD so she cannot, by definition, have PTSD.” Id.

          Dr. Singer provides absolutely no reliable methodology for his conclusory opinions. On

   what does Dr. Singer rely to make the assertion that no slip and fall injury could ever result in a

   diagnosis of PTSD?          Is this based on his own independent experience or peer-reviewed

   publications? The only explanation Dr. Singer supplies in support of this outlandish assertion is

   the illogical “slippery slope” / “false dilemma”: If Ms. Sosa suffers from PTSD from her slip and

   fall, then every person who ever slipped and fell would be diagnosed with PTSD. This is hardly a

   reliable basis for Dr. Singer’s conclusion that Plaintiff fails to meet the “A” criterion for PTSD.

          Further, Dr. Singer concludes that Plaintiff does not suffer from the “severity nor quantity”

   of symptoms “to meet the subsequent criteria for PTSD.” Exhibit “B,” at 19. But, again, Dr.

   Singer fails to provide a reliable basis for his opinions. Even his statements regarding Ms. Sosa’s

   symptoms are contradictory: “Ms. Sosa easily recounted and thoroughly discussed the entirety of

   her experience without any observable signs of emotional distress whatsoever. … At one point she

   was appropriately tearful.” Id. at 18. “She denied nightmares … though did have occasional bad

   dreams about slipping….” Id. at 19. Dr. Singer points to nothing—no experience, no psychiatric

   journals, no peer-reviewed studies—in support of these conclusions forming the basis of his

   opinion that Plaintiff never suffered from PTSD.

          Ultimately, Dr. Singer’s conclusory assertions that Ms. Sosa “did not and does not suffer

   from PTSD” is supported by nothing other than Dr. Singer’s own ipse dixit. As such, these

   unsupported opinions are properly excluded. Frazier, 387 F.3d at 1261 (“[I]t remains a basic

   foundation for admissibility that proposed expert testimony must be supported by appropriate

   validation—i.e., ‘good grounds,’ based on what is known.” (citing Daubert, 509 U.S. at 590));


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   Kumho Tire v. Carmichael, 526 U.S. 137, 157 (1999) (“[N]othing in either Daubert or the Federal

   Rules of Evidence requires a district court to admit opinion evidence that is connected to existing

   data only by the ipse dixit of the expert.” (citation omitted)).

          2. Dr. Singer’s opinions are clearly outside the scope of rebuttal to Mr. Hardy-Holley

          Next, Dr. Singer’s report includes opinions that are clearly outside the scope of rebuttal to

   Plaintiff’s mental health treater, Donald Hardy-Holley, pursuant to Rule 26, and were not served

   until the extended rebuttal deadline of October 19, 2018. See Exhibit “B”; see also [D.E. 18, 36].

   A copy of Plaintiff’s Rule 26 Expert/Hybrid Disclosures and a copy of Plaintiff’s Supplemental

   Rule 26 Expert/Hybrid Disclosures containing Mr. Hardy-Holley’s written opinions are attached

   hereto as Exhibit “D”.

          Defendant, through its disclosure of Dr. Singer, attempts to include opinions regarding

   Plaintiff’s past shoulder and lumbar pain, which Mr. Hardy-Holley did not specifically opine upon,

   are irrelevant to Dr. Singer’s mental health opinions (specifically, rebutting Mr. Hardy-Holley’s

   opinion that Plaintiff suffers from PTSD as a result of the incident), and are outside the scope of

   Dr. Singer’s expertise, by his own admission. See Exhibit “B”.

          Under Rule 26(a)(2)(D)(ii), rebuttal expert testimony is permitted “only where it ‘is

   intended solely to contradict or rebut evidence on the same subject matter identified by another

   party,’” and “[s]uch testimony ‘cannot be used to advance new arguments or new evidence.’”

   Blake v. Securitas Sec. Svcs., Inc., 292 F.R.D. 15, 17 (D.D.C. 2013) (citations omitted) (emphasis

   supplied). The purpose of rebuttal testimony, rather, is to “explain, repel, counteract, or disprove

   evidence of the adverse party.” Id. (citation omitted). “Where a party attempts to designate as a

   ‘rebuttal’ expert someone whose proposed testimony is beyond the scope of appropriate rebuttal,

   that witness may be viewed as an initial expert who was not timely designated and whose testimony


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   may be struck by the Court for violating Rule 26(a) and the Court’s governing scheduling order.”

   Id. at 18.

           Mr. Hardy-Holley, while considering Plaintiff’s general levels of pain in the course of his

   mental health therapy, did not specifically opine as to whether Plaintiff’s lumbar pain was pre-

   existing, and did not render any opinions on Plaintiff’s lumbar MRI results. Exhibit “D”. The

   following opinions of defense expert Dr. Singer are clearly outside the scope of rebuttal and

   appropriately stricken:

          Ms. Sosa reported similar symptoms, other than the hamstring injury, going back
           to 2005.

          Her recent[] lumbar MRI, as described, is virtually unchanged from the 2014 study
           done prior to the accident.

          Her current and most severe pain, her back pain, was documented as a 5-6 back to
           2014. It is now an 8. There were similar previous findings with her bruxism and
           shoulder pain. It is outside the expertise of this examiner whether those symptoms
           are attributable to the accident or are unrelated and an expected progression of
           previous spinal disease and fibromyalgia.

          Ms. Sosa, though, seemed to attribute all of her pain to the accident. It was well
           documented she had clinically relevant back pain, shoulder pain and bruxism prior
           to the accident. It is highly unlikely that all of her back and shoulder pain and
           bruxism are due to the accident since these medical conditions were clearly
           documented prior to the accident.

   Exhibit “B,” at 20. Dr. Singer also unnecessarily includes the following description of Plaintiff’s

   lumbar MRI results, which are also outside the scope of rebuttal and do not support his opinions

   regarding Plaintiff’s mental health in any way:

          8/6/14 “Cont’s with bilateral shoulder and back pains, Pain level 5-6”

          6/7/14 X-ray of lumbar and sacral spine ordered for lumbago with radiculopathy—
           lumbar pain and right shoulder pain

          4/17/14 continue shoulder and back pain, 6/10

          6/13/14 lumbar spine x-ray—mild facet hypertrophy, most pronounced at L5-S1

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         6/26/14 MRI of spine—degenerating bulging discs with facet arthropathy at L4-
          L5, bilateral foraminal narrowing L5-S1.

         Her back pain is also worse and now is the greatest source of pain for her (whether
          this is due to the natural progression of her previous pain or due to the accident is
          beyond the expertise of this examiner).

         Her shoulder pain is also a continuing source of pain and limitation (again, whether
          this is due to the natural progression of her previous shoulder pain or due to this
          injury is beyond the expertise of this examiner).

   Exhibit “B,” at 15.

          In Home Design Services v. Hibiscus Homes of Florida, the Middle District struck a portion

   of a party’s expert opinion as untimely and outside the scope of proper rebuttal pursuant to Rule

   26, in a copyright infringement action brought against a homebuilder. 2005 WL 2465020, *1, 5

   (M.D. Fla. Oct. 6, 2005). The report provided by plaintiff’s rebuttal expert, Dr. Nunez, report both

   rebutted the defense expert, Dr. Fishkind, “and offer[ed] separate and distinct analysis.” Id. at *4.

   In striking the expert’s opinion as outside the scope of rebuttal, the court stated:

          Mr. Nunez does not tie these conclusory statements to Dr. Fishkind’s report or any
          of the materials used in Dr. Fishkind’s report. These assertions in Paragraph 5 of
          Mr. Nunez’s report cannot be reasonably classified as rebuttal evidence, as they
          represent independent analysis which should have been disclosed [by the initial
          expert disclosure deadline]. Non-rebuttal, expert evidence which casts doubt on an
          opposing expert’s report cannot be admitted under the thirty-day period for rebuttal
          evidence provided in Rule 26(a)(2).

   Id. at *5 (citing Daly v. FESCO Agencies NA, Inc., 108 Fed. Appx. 476, 480 (9th Cir. 2004)).

          Similarly, in Blake v. Securitas Security Services, the District Court for the District of

   Columbia struck a portion of the plaintiff’s rebuttal expert’s opinions that went beyond the scope

   of appropriate rebuttal testimony. 292 F.R.D. at 18-19. Blake dealt with a student who jumped or

   fell off a balcony while at a high school dance, and the student raised claims of negligence security

   against defendant. Id. at 16. The defendant named two security experts who opined on “who may

   or may not have been responsible for securing the relevant areas of the school and whether those

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   individuals met the appropriate standard of care in providing security at the event.” Id. at 18. But

   the Plaintiff, through his rebuttal expert, sought to introduce testimony that he “did not

   intentionally or planfully jump from the balcony as a means of committing suicide or otherwise

   injuring himself,” and that the “fall was most likely the result of a state of acute disorientation and

   panic,” both outside the scope of allowable rebuttal to defendant’s experts’ opinions. Id. (“As

   Garmoe is responding to an argument that appears nowhere in the opinions of Defendant’s experts,

   his testimony on this issue must be struck.”). The court agreed with defendant that the plaintiff

   was attempting to offer new opinions under the guise of rebuttal, and precluded the plaintiff from

   offering the new opinions of its rebuttal expert at trial. Id. at 19.

           Here, the above proffered opinions of Dr. Singer are similarly outside the scope of Mr.

   Hardy-Holley’s written reports in this case and appropriately excluded. Compare Exhibit “B” with

   Exhibit “D”. Mr. Hardy-Holley does not opine on Plaintiff’s lumbar condition, and it is Plaintiff’s

   position that this unnecessary and irrelevant information is a belated attempt by Carnival to

   introduce additional testimony regarding Plaintiff’s lumbar condition in order to bolster

   Defendant’s position that Plaintiff’s back pain was pre-existing and/or degenerative in nature.

   There are plenty of treating orthopedic physicians and orthopedic experts in this case to opine on

   Plaintiff’s lumbar spine. The Court should exclude the above opinions of Dr. Singer, as irrelevant

   and outside the scope of rebuttal.

           C. Dr. David Keyes, M.D.

           Plaintiff next moves to exclude Dr. Keyes’s opinions regarding Plaintiff’s lumbar

   conditions, which are unsupported by the medical records and any methodology whatsoever:

              That “the MRI findings in the lumbar spine, while age-indeterminate, are most
               likely preexisting and not associated with the described injury.”



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   Exhibit “A,” Orthopedic Medical Evaluation dtd. 7/30/18, at 4.                             This opinion is plainly

   contradictory and not based on a reliable methodology. If Dr. Keyes renders this opinion based

   on his experience, he does not explain “how that experience leads to the conclusion reached …

   and how that experience is reliably applied to the facts.” Frazier, 387 F.3d at 1261.

          Dr. Keyes next opines regarding an alleged prior lower back “injury” Plaintiff suffered—

   however, Plaintiff’s medical records contain no mention of any prior back injury. While Plaintiff

   did undergo a lumbar MRI prior to the incident alleged in the Complaint, Dr. Keyes fails to support

   his ultimate conclusion that Plaintiff’s current lumbar injuries were pre-existing by pointing to any

   specific findings between the two MRI reports. Dr. Keyes offers absolutely no explanation for his

   conclusions in this case:

             “Ms. Sosa had a prior lower back pain injury with persistent symptoms. I
              looked back at the MRI report of the lumbar spine performed on 05/23/2013. I
              again point out the official report showed only disc bulging, not disc herniations
              as noted by Dr. Fulp. It remains my opinion that there is no indication for the
              epidural steroid injection or microlumbar discectomy.”

   Exhibit “B,” Additional Medical Record Review dtd. 9/24/18, at 4. Again, Dr. Keyes offers no

   explanations for his conclusions. If we are to rely on his experience, he fails to address how or

   why that experience would apply; in fact, Dr. Keyes goes on to state, at the end of his report:

             “Given the different opinions as to the findings on the MRI study of the lumbar
              spine, I would recommend that a neuroradiologist with expertise in MRI
              imaging look at the MRI study of the lumbar spine.”

   Exhibit “B,” Additional Medical Record Review dtd. 10/17/18, at 3. Dr. Keyes so much as admits

   that he is not qualified to opine on the differences between Plaintiff’s lumbar MRIs. As he is

   admittedly unqualified, these opinions should be excluded.

          In Bowers v. Norfolk Southern Corp., the Middle District of Georgia excluded the proferred

   medical opinion of a CME physician, Dr. Wardell, regarding the cause of plaintiff’s injuries. 537


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   F. Supp. 2d 1343 (M.D. Ga. 2007). Dr. Wardell opined, after conducting a differential diagnosis,

   that a long train ride with heavy vibration caused permanent aggravation of plaintiff’s back

   condition; however, the court found that his opinions were ultimately unsupported. Id. at 1354.

   The court explained:

          Simply stated, Dr. Wardell cannot satisfy any of the Daubert factors: he has not
          demonstrated that his causation opinions are testable; he has not offered any error
          rate for his opinions; he has not shown any evidence that his opinions have been
          peer reviewed or that he used a peer-review source to reach his opinions; and
          finally, he has not shown the general acceptance of his opinions. Consequently, his
          opinions fail all four of the Daubert factors.

   Id. at 1353-54.

          Similarly here, Dr. Keyes fails to provide any reliable methodology in support of his

   opinions regarding Plaintiff’s lumbar MRI results and his opinion that her lumbar injuries were

   pre-existing. He even admits that he is not qualified to read the lumbar MRIs for comparison

   purposes. As such, these opinions are appropriately stricken.

          WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an Order

   striking the above expert witnesses and/or portions of their opinions in accordance with Daubert,

   the Federal Rules of Evidence, and/or the Federal Rules of Civil Procedure, and grant any other

   further relief this Court deems just and proper.


                                       RULE 7.1(a)(3) CERTIFICATION

          Pursuant to Local Rule 7.1(a)(3) of the Local Rules for the Southern District of Florida, I

   hereby certify that undersigned counsel for Plaintiff has conferred with counsel for Defendant, and

   the parties could not reach agreement.




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                                         CERTIFICATE OF SERVICE

             I hereby certify that a copy of the foregoing document was served via E-Mail through the

    CM/ECF system on this 6th day of November, 2018, to counsel for Defendant, J. Michael

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